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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MURRAY COBB,                                            )
                                                         )
                          Plaintiff,                     )
                                                         )   Case No. 24-cv-03707
        v.                                               )   Hon. Edmond E. Chang
                                                         )
 LAKE COUNTY JAIL, et al.,                               )
                                                         )
                         Defendants.                     )


                       MOTION TO WITHDRAW FROM ASSIGNMENT

                           PURSUANT TO LOCAL RULE 83.38(A)(2)

       Newly appointed counsel Eric Berg respectfully requests to withdraw from his

assignment in this matter, and in support thereof states as follows:

       1. On October 7, 2024, attorney Eric Berg was appointed counsel for Plaintiff in this

             matter, pursuant to counsel’s trial bar obligations.

       2. Counsel is a practicing attorney at Barnes & Thornburg LLP.

       3. On October 10, 2024, pursuant to the Court’s instructions counsel entered an

             appearance, and initiated a conflict search.

       4. On October 11, 2024, counsel learned that more than one defendant in this action is

             represented by his firm, Barnes & Thornburg LLP. Counsel informed his firm’s

             professional responsibility attorneys of this and, upon the advice of counsel, notifies

             the Court of these conflicts of interest.

       5. These conflicts of interest prevent counsel from representing Plaintiff in this action

             while maintaining compliance with the rules of professional responsibility.




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       For this reason, counsel respectfully moves to withdraw from assignment to this case,

pursuant to Local Rule 83.38(1)(2) (allowing for motion to withdraw from appointment where

“[s]ome conflict of interest precludes counsel from accepting the responsibilities of representing

the party in the action”) and to withdraw his appearance.


Dated: October 16, 2024                          Respectfully submitted,

                                                 /s/ Eric Berg
                                                 Eric Berg (Ill. Bar #6209624)
                                                 eric.berg@btlaw.com
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                                                 (312) 316-8333
                                                 Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE


I certify that on the 16th day of October, 2024, I caused the foregoing document to be filed with

the Clerk of the Court using the CM/ECF system, which will automatically send e-mail notification

of such filing to all attorneys of record.



                                                    /s/ Eric Berg




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